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                              NOT FOR PUBLICATION                         FILED
                     UNITED STATES COURT OF APPEALS                       MAR 24 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

 RYAN S., individually and on behalf of all      No.    20-56310
 others similarly situated,

       Plaintiff-Appellant,                      D.C. No. 8:19-cv-01363-JVS-KES

  v.                                             MEMORANDUM*

 UNITEDHEALTH GROUP, INC., a
 Delaware corporation; UNITED
 HEALTHCARE SERVICES, INC., a
 Minnesota corporation; UNITED
 HEALTHCARE INSURANCE
 COMPANY, a Connecticut corporation;
 UHC OF CALIFORNIA, a California
 corporation; UNITED HEALTHCARE
 SERVICES LLC, a Delaware limited
 liability company; UNITED BEHAVIORAL
 HEALTH, INC., a California corporation;
 OPTUMINSIGHT, INC., a Delaware
 corporation; OPTUM SERVICES, INC, a
 Delaware corporation; and OPTUM, INC., a
 Delaware corporation,

       Defendants-Appellees.




       *
              This disposition is not appropriate for publication and is not precedent
 except as provided by Ninth Circuit Rule 36-3.
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                    Appeal from the United States District Court
                       for the Central District of California
                     James V. Selna, District Judge, Presiding

                     Argued and Submitted November 10, 2021
                               Pasadena, California

 Before: COLLINS and LEE, Circuit Judges, and OTAKE,** District Judge. Partial
 Concurrence and Partial Dissent by Judge COLLINS.
       Ryan S. appeals the district court’s dismissal of this putative class action

 against his health insurance company UnitedHealth Group, Inc. and related

 corporate entities (collectively, United). In his Third Amended Complaint (TAC),

 Ryan S. asserted one cause of action under the Employee Retirement Income

 Security Act of 1974’s (ERISA) “catch-all” enforcement provision for equitable

 relief, 29 U.S.C. § 1132(a)(3). The district court dismissed for lack of standing.

       Ryan S. has suffered from a substance use disorder and twice received

 treatment for the condition. In general, he claimed that United created barriers to

 accessing substance use disorder care and wrongfully denied payment for

 treatments that he maintains are or should be covered under his health plan. Ryan

 S. identified six practices that he alleged breached United’s fiduciary duties under

 ERISA and violated the Paul Wellstone and Pete Domenici Mental Health Parity

 and Addiction Equity Act of 2008 (MHPAEA). See 29 U.S.C. § 1104(a)(1)(D)



       **
              The Honorable Jill A. Otake, United States District Judge for the
 District of Hawaii, sitting by designation.

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 (requiring fiduciaries to discharge duties according to the terms of the plan and

 consistently with ERISA); id. § 1185a (codifying MHPAEA and providing, for

 example, that a health plan must ensure that “the financial requirements applicable

 to such mental health or substance use disorder benefits are no more restrictive

 than the predominant financial requirements applied to substantially all medical

 and surgical benefits covered by the plan”). Ryan S. has also cited a report from a

 California state agency that suggests that United Health denies claims through the

 use of the ALERT system.

       On behalf of the putative class, Ryan S. sought: (1) an order certifying the

 proposed Class, (2) a declaration that each of the six practices violates fiduciary

 duties imposed by ERISA, the mental health and substance use disorder parity

 provisions, and the terms of Plaintiff’s and putative class members’ various benefit

 plans; (3) an injunction requiring United to re-evaluate all claims for substance use

 disorder and related mental health and laboratory services and benefits; (4)

 disgorgement of profits; (5) attorneys’ fees and costs; and (6) pre- and post-

 judgment interest.

       The district court dismissed Ryan S.’s TAC for lack of standing. It

 addressed each of the six practices individually and concluded that Ryan S. lacked

 standing to challenge any of the practices.

       We review the district court’s dismissal de novo. See Warren v. Fox Fam.



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 Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003).

       To establish standing, a plaintiff must demonstrate:

               (1) [He] has suffered an “injury in fact” that is (a) concrete and
               particularized and (b) actual or imminent, not conjectural or
               hypothetical; (2) the injury is fairly traceable to the challenged
               action of the defendant; and (3) it is likely, as opposed to merely
               speculative, that the injury will be redressed by a favorable
               decision.

 Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180–

 81, (2000).

       Like the district court, we address separately each of the allegedly violative

 practices that Ryan S. challenges.

       1.      Pre-authorization Requirement

       Ryan S. challenged United’s alleged policy of requiring a patient to obtain

 pre-authorization for out-of-network outpatient substance use disorder treatment,

 while not imposing the same requirement for other medical care. But Ryan S.

 conceded that his treatment providers obtained the required pre-authorization. As

 such, any harm he suffered cannot be linked to a refusal to pay for lack of pre-

 authorization.

       To the extent that Ryan S. alleged harm resulting from delay in treatment

 while awaiting pre-authorization, the relief requested would not redress such

 harm. As to himself, Ryan S. sought only disgorgement of profits, a re-evaluation

 of his claims, and a declaration that the pre-authorization requirement is


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 unlawful. There was no allegation that United profited from any delay in

 treatment. Similarly, a re-evaluation of the claim would not remedy a delay that

 has already occurred. And a declaration that the pre-authorization requirement

 violates ERISA would not redress such delay unless Ryan S. alleged that he was

 likely to be subject to the requirement again. He made no such allegation. Thus,

 Ryan S. has no injury linked to the pre-authorization requirement that would be

 redressed by the relief requested. He therefore lacks standing to challenge this

 practice. We affirm the district court’s dismissal as to this claim.

       2.     Outpatient Treatment Coverage

       Next, Ryan S. alleged that United impermissibly refused to cover outpatient

 treatment for substance use disorder. Ryan S. participated in two different periods

 of treatment for his substance use disorder. He claims that United did not pay for

 any of the outpatient treatment during the first course, and paid for only some of

 the outpatient treatment at nominal or inappropriate rates during the second. This

 alleged denial of coverage left Ryan S. with hundreds of thousands of dollars in

 unpaid medical bills. We conclude that Ryan S.’s allegations are sufficient to

 establish standing to challenge United’s alleged practice.

       Read in the light most favorable to Ryan S., he alleged that he was entitled

 to certain coverage, that he was denied that coverage, that United does not refuse

 such coverage for other medical or surgical care, and that the denial left Ryan S.



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 with unpaid bills. That United paid for some of Ryan S.’s outpatient treatment

 may affect whether Ryan S. can prove his claims, but it does not preclude his

 standing to challenge an alleged practice. Further, Ryan S.’s request for an

 injunction that would require United to re-evaluate all benefits determinations for

 substance use disorder treatments and pay any wrongfully denied claims would

 redress Ryan S.’s alleged injury.1 Thus, we reverse the district court as to this

 claim.




 1
   On appeal, United argues that Ryan S. cannot seek such relief pursuant to 29
 U.S.C. § 1132(a)(3) and that Ryan S. instead needed to file suit under § 1132(a)(1)
 to recover benefits. Under § 1132(a)(1)(B), a plan beneficiary may bring a civil
 action to “to recover benefits due to him under the terms of his plan, to enforce his
 rights under the terms of the plan, or to clarify his rights to future benefits under
 the terms of the plan.” While § 1132(a)(3) is a catch-all provision that allows a
 beneficiary to bring a civil action “(A) to enjoin any act or practice which violates
 any provision of this subchapter or the terms of the plan, or (B) to obtain other
 appropriate equitable relief (i) to redress such violations or (ii) to enforce any
 provisions of this subchapter or the terms of the plan,” we reject United’s position
 that Ryan S.’s § 1132(a)(3) claim is improper for two alternative reasons. First,
 Defendant failed to raise this argument below and therefore forfeited the issue. See
 El Paso City v. Am. W. Airlines, Inc. (In re Am. W. Airlines, Inc.), 217 F.3d 1161,
 1165 (9th Cir. 2000). Second, this Circuit has held that a plaintiff in an ERISA
 case may pursue claims under both § 1132(a)(1) and § 1132(a)(3) if the relief is not
 duplicative. See Moyle v. Liberty Mut. Ret. Benefit Plan, 823 F.3d 948, 962 (9th
 Cir. 2016). Here, Ryan S. does not merely seek recovery for denial of benefits, he
 seeks a reconsideration of his (and others’) claims under a different benefits
 determination regime and without a preordained result. He also seeks a declaration
 that United’s practices violate ERISA and seeks disgorgement of United’s profits.
 We are not willing to say this early in the litigation that Ryan S.’s requested
 remedies are improper under § 1132(a)(3).


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       3.     Cross-plan Offsetting

       Ryan S. also challenged United’s alleged practice of “cross-plan offsetting.”

 Ryan S. claimed that United refused to pay Ryan S.’s providers for his treatments

 as a means to recoup purported overcharges to United for providers’ care to other

 patients. This practice allegedly left Ryan S. “responsible” for unpaid bills that

 United agreed were covered under his plan. However, Ryan S.’s conclusory

 statement that he is “responsible” for the bills is insufficient to establish that he

 was harmed by the alleged offsetting. Ryan S. alleges no facts that plausibly

 explain why cross-plan offsetting would cause the bills to fall to him.2 Thus, Ryan

 S. has not alleged that his harm is fairly traceable to United’s practice. See

 California v. Texas, 593 U.S. ___, 141 S. Ct. 2104, 2117 (2021) (“[W]here a

 causal relation between injury and challenged action depends upon the decision of

 an independent third party . . . standing is not precluded, but it is ordinarily

 substantially more difficult to establish.” (internal quotation marks and citations

 omitted)). We affirm the district court’s finding that Ryan S. lacks standing to

 challenge United’s purported cross-plan offsetting.




 2
   Ryan S.’s assertions that he is “responsible” for certain bills that United sought
 to recoup from providers are distinct from his claims that United allegedly refused
 to cover certain treatments or services. In the latter scenario, the alleged harm is
 more directly traceable to United’s actions and does not involve any decision by a
 third-party.

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       4.     Auxiliary Treatments

       Plaintiff alleges that United refused to pay for certain treatments for

 substance use disorders that they pay for in other contexts, such as cancer or

 chronic disease treatment. These treatments include covered counseling and

 behavioral therapy, case and treatment management services, pharmacologic

 management services, and breathalyzer testing for individuals in treatment for a

 substance use disorder. We conclude that Ryan S. has standing to challenge this

 alleged practice.

       Ryan S. alleged that United refused to pay for any such services during his

 first treatment episode. After his second treatment episode, Ryan S. claimed that

 United refused to pay for any of the treatments but for “some of the cost of a few

 breathalyzer tests.” The alleged violations left Ryan S. with unpaid medical bills.

       The district court concluded that because United covered some of the

 breathalyzer tests, there was no categorical practice, or if there was, it was not

 applied to Ryan S. However, Ryan S. need not necessarily prove that any practice

 was categorical. The thrust of Ryan S.’s lawsuit is that United handles claims for

 treatment of substance use disorder differently than it handles treatment for other

 claims. At this early stage of the proceedings, it is sufficient for Ryan S. to allege

 that United failed to cover some treatment he thinks he is entitled to under his plan

 or the law, and that such a refusal harmed him. Reading the TAC in the light most



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 favorable to Ryan S. he has done that as to this challenged practice. We therefore

 reverse the district court on this claim.

       5.     Clinical Laboratory Services

       Ryan S.’s fifth challenged practice is that United “impermissibly demand[s]

 refunds and/or refuse[s] to cover and pay for covered clinical laboratory claims for

 individuals in treatment for a substance use disorder as either beyond the numerical

 limitation and/or simply not covered or reimbursable for individuals in treatment

 for a substance use disorder.” He claimed that United used the “ALERT system”

 or a “similar protocol or algorithm” to limit or exclude the claims for coverage.

       To the extent Ryan S. challenges United’s alleged practice of seeking

 refunds from providers of clinical laboratory services, the standing inquiry mirrors

 the analysis as to the cross-plan offsetting where a third-party’s actions become

 relevant. Plaintiff has not alleged sufficient facts to connect such an alleged

 practice to his purported harm.

       But, to the extent United denied or limited coverage for certain clinical

 laboratory services, Ryan S. has standing to challenge that practice. He alleged

 that United only provided “limited coverage for a limited number of the laboratory

 services between 18% and 70% of billed charges” for Ryan S.’s first treatment

 period and only covered “some” of the laboratory services during the second,

 which left him with medical bills. Therefore, we reverse the district court’s denial



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 of standing to challenge this practice in part.

       6.     Reimbursement at Medicare Rates

       The last practice that Ryan S. contested was United’s alleged practice of

 paying substance use disorder treatment claims at inapplicable Medicare rates. We

 conclude Plaintiff lacks standing to challenge this practice for the same reason we

 reject standing as to the cross-plan offsetting. Plaintiff has not alleged facts linking

 United’s purported payment of inapplicable Medicare rates to his providers to

 Ryan S.’s unpaid medical bills. Without more, Ryan S. has not alleged any harm

 that is fairly traceable to United’s alleged practice. We thus affirm the district

 court on this claim.

       For the foregoing reasons, we affirm in part, reverse in part, and remand for

 proceedings consistent with this memorandum disposition.

       The parties shall bear their own costs on appeal.

       AFFIRMED IN PART, REVERSED IN PART, AND REMANDED.




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                                                                             MAR 24 2022
 Ryan S. v. UnitedHealth Group, Inc. et al., 20-56310                    MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS

 COLLINS, Circuit Judge, concurring in part and dissenting in part:

       I concur in the memorandum disposition, except as to sections 2, 4, and 5.

 As to the claims at issue in those sections, I would affirm the dismissal on the

 ground that Ryan S. failed to plead sufficient facts to state a claim under Federal

 Rule of Civil Procedure 12(b)(6).

       In upholding the claims addressed in sections 2, 4, and 5, the majority

 essentially relies on the view that Ryan S. has adequately pleaded a claim that he

 was not provided the benefits to which he was entitled under the plan documents

 and the applicable law. I need not decide whether that conclusion is correct,

 because in my view it asks the wrong question. Ryan S.’s operative complaint

 pointedly does not allege a claim for denial of benefits under § 502(a)(1)(B) of

 ERISA, 29 U.S.C. § 1132(a)(1)(B). Instead, that complaint rests on the distinct

 theory that Defendants adopted certain general “practices” for handling particular

 types of claims that were not consistent with “the governing plan documents” or

 ERISA’s “parity provisions,” and that Defendants’ use of these unlawful practices

 may be enjoined under § 502(a)(3) of ERISA, id. § 1132(a)(3). The allegations

 supporting the existence of the relevant practices, however, are entirely conclusory.

       The practices at issue are “refusing, without basis,” to pay for covered

 outpatient treatment claims, “refusing to cover and pay” for a variety of auxiliary
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 treatment services, and “demanding refunds and/or refusing to cover and pay for

 covered clinical laboratory claims.” But beyond the allegation that Ryan S. did not

 receive all of the benefits and reimbursements to which he thought he was entitled,

 the complaint is devoid of any allegations that would plausibly establish that these

 instances of alleged failure to pay benefits reflected a general practice, as opposed

 to case-specific errors or deficiencies that occurred in Ryan S.’s case. Pointing to

 one patient’s alleged denial of behavioral health benefits, standing alone, does not

 support a plausible inference that Defendants employ broader policies of the sort

 alleged here. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (stating that a complaint

 does not “suffice if it tenders naked assertions devoid of further factual

 development”) (simplified). Because the complaint does not allege sufficient facts

 to support the particular theory on which it chose to rely, I would uphold the

 dismissal of these claims on that basis.




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